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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF FLORIDA
                              PENSACOLA DIVISION

ERIC CARRILLO,

       Petitioner,

v.                                                  Case No. 3:24cv525-TKW-MAL

WARDEN FPC PENSACOLA,

     Respondent.
_____________________________/

                                           ORDER

       This case is before the Court based on the magistrate judge’s Report and

Recommendation (Doc. 13). No objections were filed.

       Upon due consideration of the Report and Recommendation and the case file,

the Court agrees with the magistrate judge’s determination that this case should be

dismissed based on Petitioner’s failure exhaust his administrative remedies.1

Accordingly, it is

       ORDERED that:

       1.      The magistrate judge’s Report and Recommendation is adopted and

incorporated by reference in this Order.



       1
          Based on that disposition, the Court need to consider the merits of Petitioner’s claims.
However, for sake of completeness, the Court agrees with the magistrate judge’s assessment that
Petitioner would not be entitled to relief on the merits of any of his claims.
                                                1
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       2.        This case is DISMISSED for failure to exhaust administrative

remedies.

       3.        The Clerk shall enter judgment in accordance with this Order and close

the case file.

       DONE AND ORDERED this 19th day of May, 2025.




                                          __________________________________
                                          T. KENT WETHERELL, II
                                          UNITED STATES DISTRICT JUDGE




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